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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No.: 2:13-cr-0018-JCM-GWF
                                               )
10   vs.                                       )                  ORDER
                                               )
11                                             )                  Sealed Ex Parte Motion (#433)
     LEON BENZER,                              )
12                                             )
                       Defendant.              )
13   __________________________________________)
14          This matter is before the Court on Defendant Leon Benzer’s Ex Parte Motion for Issuance
15   of a Subpoena Duces Tecum (#433) filed under seal on December 8, 2014.
16          As stated in United States v. Sellers, 275 F.R.D. 620, 624 (D.Nev. 2011), courts are split as
17   to whether a party may make an ex parte application for a pretrial subpoena duces tecum under
18   Rule 17(c) of the Federal Rules of Criminal Procedure. The Ninth Circuit has not addressed the
19   issue. Some courts have held that under no circumstances may a party make an ex parte
20   application for a subpoena duces tecum. Other courts have held that a party may make an ex parte
21   application where the source or integrity of evidence would be imperiled or the party’s trial strategy
22   would be disclosed if the motion were served on the other party. Id., citing United States v.
23   Beckford, 964 F.Supp. 1010, 1025-31 (E.D.Va. 1997); United States v. Daniels, 95 F.Supp.2d
24   1160, 1162-63 (D.Kan. 2000); and United States v. Tomison, 969 F.Supp. 587, 589-95 (E.D.Cal.
25   1997). See also United States v. McClure, 2009 WL 937502, *1 (E.D.Cal. 2009). Judges in this
26   district have held that a defendant may file an ex parte motion for the issuance of subpoenas duces
27   tecum under Rule 17(c) upon a showing of the need for confidentiality. See Sellers, supra and
28   United States v. Andrade, 2013 WL 3029194, *2 (D.Nev. 2013).
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 1          Defendant has not made any showing that it is necessary to file the instant motion ex parte.
 2   Nor does there appear to be any basis for ex parte filing. The proposed subpoena does not seek
 3   evidence directly relating to the Defendant’s guilt or innocense on the charges in the indictment.
 4   Rather, the subpoena is directed at obtaining PACER billing records to determine whether
 5   newspaper reporter Jeff German or the Las Vegas Review Journal obtained the Benzer proffer
 6   materials from the docket in this case during the time period that those materials were on file and
 7   publically available. The purpose for which the subpoena is sought is no secret and is, in fact,
 8   discussed in Defendant’s Reply in Support of Motion to Dismiss (#420), pg. 2 n. 2. The Review
 9   Journal has also anticipated that Defendant would seek a subpoena for its PACER records and has
10   addressed a letter “To Whom It May Concern” requesting notification if such a motion is filed.
11   The letter indicates that it has been delivered to the district judge, the undersigned magistrate judge
12   and counsel for Defendant Benzer and the Government. Mr. German and the Las Vegas Review
13   Journal have an interest in the subject matter of the subpoena and whether it should issue because
14   the information sought pertains to their PACER account(s). See In re Grand Jury, 111 F.3d 1066,
15   1073-74 (9th Cir. 1997). Accordingly,
16          IT IS HEREBY ORDERED that Defendant Leon Benzer’s Ex Parte Motion for Issuance
17   of a Subpoena Duces Tecum (#433) is denied, without prejudice. Defendant may file a motion for
18   issuance of the subject subpoena with notice and a copy of said motion being served on the
19   Government and on the interested non-parties, Jeff German and the Las Vegas Review Journal.
20          DATED this 11th day of December, 2014.
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22                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
23                                                 United States Magistrate Judge
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